                          Case 2:21-cv-00051-AWA-DEM Document 1-3 Filed 01/25/21 Page 1 of 1 PageID# 8
    JS   44       (Rev. 10/20)
                                                                                             CIVIL COVER SHEET
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service ofpleadings
                                                                                                                                       or other papers as required by law, except as
    provided by local rules ofcourt. This form, approved by the Judicial Conferencc ofthe United States in ieptember 1974, is required for
                                                                                                                                             the use ofthe Clerk ofcou.t for the
    purpose ofinitiating the civil docket she€t. ft7l: /NSI'RI1CT1ONS ON NDXI ZAGT Ot; TH|S t;ORtvt.)
         (a)         P                                                                                                                  DEFENDA
                     Tracy McNair                                                                                                       United States of America
         (b)         County ofResidence ofFirst Listed            Plaintitr NOrfOlk                                                     County ofResidencc ofFjrst Listed Defendant
                                              (EX('EPI IN U,S, PI.4INTIFI: ('ASES)                                                                                (tN It.s PLItNT|FI ( ASDSONt_y)
                                                                                                                                        NOTE: h-        LAND CONDEMNATION CASES. USE THE LOCATION OF
                                                                                                                                                      THE TRACT OF LA]iD INVOI-VED.

         (C)        Attomeys /F,rrr Nane, Atllres:, an:l        Telephone Nunber.l                                                       Altomeys ([ Knowt)
                     pro se                                                                                                             Kent P. Porter, Supervisory AUSA
                     3801 Chatham                       Unit 2, Norfolk, VA 23513                                                       101 W. Main Street, Suite 8000, Norfolk, VA 23510
                                                                                                                                                                                                                                                   E
    II.      BASIS OF JURISDICTION ra,*                                   ,, "x     tn one Bor   onu)                          CITIZENSHIP OP PRINCIPAL PARTIES ra,c, ",                                            't   i, o   e   Rox tbr   ltaintifl
                                                                                                                                    /l.or D^ersin (    as€.\ Onl),)                                      an.l one Bor for DeFndanu
f]I               u s. Gove*'ne,t                  !:       rederal Question                                                                                      PTF         DEF                                               PTF DEF
                     Plaintiff                                (U.5. co\,emment Not a       Paij,                              Citizen of'lhis State              !r !r                Incor?orated dr Principal Place
                                                                                                                                                                                         ofBusiness In This State
                                                                                                                                                                                                                                E q Eq

I z               u.s.   co'e--ent                 !+       oirersity                                                         Citizen of Anolher State           Z2 E2                Incorporated ar./Principal Place          n:            nS
                     Defendant                                (lndicatc ( ilizen:htpoIPa E! in lt.m         lI)                                                                          of Business In Another State

                                                                                                                                                                 fl   :   !     3     Foreign r.-ation                          nr            na
 IV. NATURE                        OF SUIT                 an ' X li One Bo!                                                                                          Click here for:

l-'l     t   to   tn.,,-"..                          PERSON-ALINJURY                      PERSO.T-ALINJURY                       625 Drug Related Seizure                 422 Appeal 28 USC 158               375 False Claims Act
I lr20r\{,nne                                        310 Airplane          n 365 Personallnjury -                                    of Property 21 USC 881               423 withdrawal                      376 Qui Tam (31 USC
I I I30 M,ller acr                                   315 Airplane Product         Product Liabilit)                              690 Other                                    28 USC 157                          3729(a))
! ll0 Negotiable tnstrument                               Liability        n 36? Health Care./                                                                                                                400 State Reapponionrnenl
! 150 Recovery ofOverpayment                         320 Assault- Libel &         Phannaceutical                                                                                                              4I0 Antitrust
                  & Enforcernent of                       Slander                 Personal Injury                                                                         820 Copyrights                      430 Baflks and Banking
-        151 Med'care Acr                            330 Federal EmployeE         Product Liabilit,                                                                       830 Parent                          450 Commerce
l l      tSZ necorerl ofDefaulred                         Liability        n 368 Asbestos Personal                                                                        835 Patent ' Abbreviated            460 Deportation
                  StudeDt Loans                      340 Marine                    lnjury Product                                                                              Nes Drug Application           470 Racketeer Influenced ard
                  (Excludes Veterars)                345 Marin€ Product           Liability                                                                               840'Irademark                           Comrpt Oryanizations
!        153 Recovery ofOverpayment                       Liability         PERSoNAL PROPERTY                                                                             880 Defend Trade Secreas            480 Consumer Credit
             ofVeteran's Benefi!s                    350 Motor Vehrcle     E 3,0 O rer Fraud                                     710 Fair Labor Standards                      Act   of20l6                       (15 USC 168l or 1692)
E        160 Srockiolders' Suits                     i<5 \.4oror Vehicle   Ll l7l Trurh rn Lending                                                                                                            485 Telephone Consumer

!        l90 other contract                              Product Liability E 380 Orher PeRoDal                                   720 LaborA,Ianagement                                                            Prolection Act
-        195      Contract Produci Liabrlrry         360 Olher Persona!           Property DamaSe                                     Relations                           861 HtA ( l395fI)                   490 Cable/Sat TV
[l       L9o Franchise                                   Injurl            ! :8s rropen."- oamage                                740 Railual'Labor Act                    862 Black Lung 1923)                850 SecuritieslCommoditiesi
                                                     362 Personal InjurJ -        Producr Liabiliry                              751 Family and Nledical                  863 DIwCiDIww (405(s))                  Exchange
                                                                                                                                                                          864 SSID Trtle XVI                  890 Other Statutory Actions
                                                                                                                                 790 Ofier Labor I-irigation              865 RSI (405(s))                    891 ASricultural Acts
                                                                                                                                 791 Employee Retirement                                                      893 Envirorunental Matlers
         220 Foreclosure                             441 Voting                           463 Alien Detainee                         Income Security Act                                                      895 Freedour of Infonnation
         230 Rent Lease & Ejectmenl                  442 Emplo],rnent                     510 Motions to Vacar€                                                           870 Taxes (U.S. Plaintiff
         240 Torts to Land                           443 Housing/                             Sentence                                                                        or Defendant)                   896 Arbitration
         245 Tort Product Liability                      Accormnodations                  530 General                                                                     871 IRS-Third Party                 899 Administrative Procedure
         290 All Other Real Propert]'                445 Amer. w/Disabilities -           535 Death Penalty                                                                     26 USC 7609                       Act/Review or Appeal           of
                                                           Emplo),rnent                   Other:                                 462 Naturalization Application                                                   ASency Decision
                                                     446 Amer. wDisabilities -            540    Mandamus & Other                465 Other Immjgration                                                        950 Consritutionalit, of
                                                         Other                            550    Civil Rights                                                                                                       State Statutes
                                                     448 Education                        555    Prison Condition
                                                                                          560    Civil Detainee -
                                                                                                 Conditions of
                                                                                                 Confinement
 v. ORIGIN                       rpr,*   ,, "X' in One Bot Only)
E1 Original                          t;12 Removed fiom                    T-r
                                                                          LJ
                                                                                I     Remanded       fiom           T-t
                                                                                                                    LJ
                                                                                                                          4   Rernsrared   or r-]
                                                                                                                                              I.J
                                                                                                                                                       5   Transferred liom          r--r
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                                                                                                                                                                                            6 Muhidistrict r-r
                                                                                                                                                                                                           LJ
                                                                                                                                                                                                               8
   Proceedrng                                State Coun                               Appellate (     oun                     Reopened                     A.other District                   Lrtrgahon -
                                                                                                                                                                                              Transfer
                                                           ite the U.S. Civil Statute under which you are filing (Do not citejurisdictional stdtutes unl6s tlieediDr:
                                                             tJ.S.C. 8 233(c) and 28 U.S.C. Aq M41 aod 1446
    VI.           CAUSE OF ACTION                              description of cause;
                                                                 alleges medical malpractice against deemed Public Health Service entity.

    VII.           REQUESTED IN                         n    CHECK IF THIS IS A CLASS ACTIO,\-                                   DEMAND        S                                 CHECK YES only ifdemanded in complaint:
                                                             UNDER RULE 23 F R Cv,P                                                                                              JTIRY      DEMAND: EYCS E                            NO

    VIII.           RELATED CASE(S)
                    IF'ANY                                                                                                                                                DOCKET NUMBER
    DATE
    Jan 25.2021
    FOR OFFICF,I]Sf,              O\I-Y
         RECEIPT #                            AMOLNI                                             APPLYIn.C IFP                                                                                 \TAG, JUDGE
